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Michael Fuller, OSB No. 09357
OlsenDaines
michael@underdoglawyer.com
Direct 503-222-2000

Robert S. Sola, OSB No. 844541
Robert S. Sola, P.C.
rssola@msn.com
Telephone 503-295-6880

Kelly D. Jones, OSB No. 074217
The Law Office of Kelly D. Jones
kellydonovanjones@gmail.com
Direct 503-847-4329

Jeffrey B. Sand, admitted pro hac vice
Weiner & Sand LLC
js@atlantaemployeelawyer.com
Telephone: 404-205-5029

Attorneys for Plaintiff Matthew Sponer




                           UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                   PORTLAND DIVISION


MATTHEW SPONER,                               Case No. 3:17-cv-02035-HZ

          Plaintiff,                          PLAINTIFF’S RESPONSE TO WELLS
                                              FARGO’S MOTION TO SUPPLEMENT
   v.                                         EXHIBITS

EQUIFAX INFORMATION SERVICES,                 SUPPLEMENTAL
LLC and WELLS FARGO BANK N.A.,

          Defendants.




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                                        INTRODUCTION

       As directed by the Court, plaintiff deposed Wells Fargo’s corporate representative about

its undisclosed ACDV fraud dispute procedures so that the Court could rule on the admissibility

of the procedures. The following deposition excerpts confirm that Wells Fargo’s untimely

disclosed procedures should be excluded under Rule 37, because Wells Fargo offers no substantial

justification for its nondisclosure, acknowledges that its procedures should have been easily

identifiable in a routine discovery search, and could not even articulate any relevant basis for

wanting to introduce the procedures. On the other hand, allowing Wells Fargo to introduce the

procedures in violation of the Court’s trial management order and Rules 26 and 34 would cause

harm to plaintiff and result in jury confusion.

                                              FACTS

       Due to “an apparent oversight” Wells Fargo withheld relevant procedures throughout the

course of discovery in this case. (Dkt. 96 at 3.) These previously unproduced documents include

“Procedures for Processing an Indirect Fraud Dispute ACDVs,” “ACDVs – Accounts Easily

Identified As Fraud Accounts,” and “ACDVs – Accounts Not Easily Identified As Fraud.” (Id.)

       At the pretrial conference on August 19, 2019, Wells Fargo admitted that “[t]here is no

question” that it should have produced the documents it previously withheld from plaintiff.




       Wells Fargo admitted that it was mistaken in its sworn deposition testimony when it

confirmed that it had in fact produced all responsive policies to plaintiff.



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       Wells Fargo admitted that it “didn’t know” why the newly produced policies were not

gathered in the original set provided to plaintiff in discovery.




       Wells Fargo claimed that it withheld the newly produced policies by “mistake” and not

intentionally, but could not provide any details to the Court.




       When asked by the Court to explain why documents were withheld from production, Wells

Fargo responded, “I don’t know that I can.”




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       During the deposition of its corporate representative on August 22, 2019 Wells Fargo was

unable to provide any substantive answers about its previously undisclosed documents.




       During its August 22, 2019 deposition Wells Fargo admitted that its newly produced

documents were maintained electronically and easily accessible to its legal department during

discovery through its searchable intranet site.




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       During its deposition Wells Fargo refused to provide Court and counsel any detail about

what it did during discovery to comply with its obligations to produce responsive documents.

Wells Fargo also refused to explain how its newly produced documents were allegedly found.




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       During its deposition Wells Fargo’s corporate representative admitted that she didn’t

know whether or not she had ever even seen the newly produced procedures before getting

involved in this lawsuit.




       Wells Fargo was similarly unaware if its prior head of Credit Bureau Operations had ever

seen the newly disclosed procedures.




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       Wells Fargo also stated that it did not know whether or not the previously undisclosed

procedures were even relevant to this case.




                                           ARGUMENT

       The law under these circumstances is clear. In accordance with Rule 37, Wells Fargo

cannot introduce or reference these untimely produced documents at trial. Rule 37(c)(1) requires

that “if a party fails to provide information or identify witnesses as required by Rule 26(a) or (e),

the party is not allowed to use that information or witness to supply evidence … at a trial, unless

the failure was substantially justified or is harmless.” As the Ninth Circuit observed, “Rule 37(c)(1)

gives teeth to these requirements [the Rule 26 disclosure obligations] by forbidding the use at trial

of any information required to be disclosed by Rule 26(a) that is not properly disclosed.” Yeti by

Molly, Ltd. v. Deckers Outdoor Corp., 259 F.3d 1101, 1106 (9th Cir. 2001). This remedy is “self-

executing” and “automatic.” Id. (citing Fed. R. Civ. P. 37 Advisory Committee’s Note (1993)).

Exclusion of evidence is an appropriate remedy for failing to fulfill disclosure requirements, even



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in the absence of a showing of bad faith or willfulness, and even when the exclusion will preclude

a litigant’s entire cause of action or defense. Id. (citing Ortiz-Lopez v. Sociedad Espanola de Auilio

Mutuo Y Beneficiencia de Puerto Rico, 248 F.3d 29, 35 (1st Cir. 2001)).

       Wells Fargo’s untimely disclosure of these documents is not “substantially justified.” Even

after Wells Fargo was told it would be deposed on these procedures and its failure to disclose them,

Wells Fargo provided a representative that had no knowledge at all about its reasons for failing to

disclose these easily identifiable procedures. All Wells Fargo has been willing to disclose is that

its failure was an “oversight” or “mistake.” However, “[i]nadvertent mistakes and unintentional

oversights are not substantial justifications.” Baltodano v. Wal-Mart Stores, Inc., No. 2:10-cv-

2062-JCM-RJJ, 2011 WL 3859724 at *2 (D. Nev. Aug. 31, 2011) (citing R&R Sails v. Ins. Co. of

State of Pa., 251 F.R.D. 520, 526 (S.D. Cal. 2008)).

       During its deposition, Wells Fargo’s representative could not even articulate why the

undisclosed procedures are even relevant to this case. “Implicit in Rule 37(c)(1) is that the burden

is on the party facing sanction to prove harmlessness.” Yeti, 259 F.3d at 1107. Well Fargo can

make no such showing because plaintiff prosecuted this entire action based on the procedures that

Wells Fargo produced during discovery. Wells Fargo’s untimely disclosure of these procedures is

certainly not harmless.

                                          CONCLUSION

       Wells Fargo misled plaintiff during its Rule 30(b)(6) deposition by unambiguosly stating

that it had provided all relevant procedures. Then weeks before trial, Wells Fargo provided

procedure documents covering the very subject matter of plaintiff’s claim. Wells Fargo refused to

provide any explanation for its production failure other than cryptic statements from its attorneys

that its nondisclosure in violation of the Court’s Order and the Rules was “inadvertent” and a



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“mistake.” This excuse, or lack thereof, is insufficient as a matter of law and dictates that the

documents be excluded from trial. But even more, the Court deferred its ruling on admissibility of

these procedures and stated that plaintiff should depose Wells Fargo regarding the nondisclosure

and report back to the Court for its ruling. In response, Wells Fargo provided a deponent that had

no knowledge as to why the documents were not disclosed earlier in compliance with the Court’s

Order and the Rules. There is no argument that the procedures were not requested or that they were

not easily identifiable and clearly responsive to plaintiff’s requests.

       The Court should deny Wells Fargo’s Motion to Supplement its Exhibit List and exclude

any reference to these undisclosed procedures by any of Wells Fargo’s witnesses at trial.



August 26, 2019.
                                                       /s/ Kelly D. Jones
                                                       Kelly D. Jones, OSB No. 074217
                                                       The Law Office of Kelly D. Jones
                                                       kellydonovanjones@gmail.com
                                                       Telephone: 503-847-4329
                                                       Of Attorneys for Matthew Sponer




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                                CERTIFICATE OF SERVICE

I certify that I caused this document to be served on the following via the Court’s ECF system and
via email to:

       Daniel Peterson
       dpeterson@cosgravelaw.com
       Timothy J. Fransen
       tfransen@cosgravelaw.com
       Robert E. Sabido
       rsabido@cosgravelaw.com

       Attorneys for Defendant Wells Fargo Bank, N.A.

Dated: August 26, 2019

                                                            /s/ Kelly D. Jones
                                                            Kelly D. Jones, OSB No. 074217
                                                            The Law Office of Kelly D. Jones
                                                            kellydonovanjones@gmail.com
                                                            Telephone: 503-847-4329
                                                            Of Attorneys for Matthew Sponer




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